
In re Lewis, Lavon; — Plaintiffs); applying for supervisory and/or remedial writ; Parish of St. Tammany, 22nd Judicial District Court, Div. “H”, No. 251,543; to the Court of Appeal, First Circuit, No. KW98 0139.
Writ granted in part; otherwise denied. The district court is ordered to supply relator with a copy of his guilty plea colloquy. State ex rel. Simmons v. State, 93-0275 (La.12/16/94), 647 So.2d 1094. In all other respects, the application is denied. State ex rel. Bernard v. Cr.D.C., 94-2247, p. 1 (La.4/28/95), 653 So.2d 1174, 1175.
TRAYLOR, J., not on panel.
